Case 1:17-cr-00582-JMS-WRP Document 992 Filed 07/31/20 Page 1 of 1                       PageID #:
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                         UNITED STATES DISTRICT COURT
                                     for the
                              DISTRICT OF HAWAII

 U.S.A. vs. Minh-hung Nguyen                                           CR 17-00582JMS-WRP-04
 a.k.a. "Bobby Nguyen"

                       Petition for Action on Conditions of Pretrial Release

 COMES NOW Diane Arima-Linscott, U.S. Pretrial Services Officer, presenting an official
 report upon the conduct of defendant MINH-HUNG NGUYEN a.k.a. "Bobby Nguyen", who
 was placed under pretrial release supervision by the Honorable Richard L. Puglisi sitting in the
 Court at Honolulu, Hawaii. The defendant has been under pretrial services supervision since
 October 16, 2017. The current conditions of pretrial release are as follows:

 REFER TO PRETRIAL SERVICES REPORT(S)

 Respectfully presenting petition for action of Court and for cause as follows:

        Pursuant to 18 U.S.C. § 3154(5), the defendant may pose a danger to another person
        and/or the community.

 PRAYING THAT THE COURT WILL ORDER a Summons be issued and the defendant be
 brought forth for a Bail Review Hearing.

 ORDER OF COURT                                       I declare under penalty of perjury that the
                                                      foregoing is true and correct.

 Considered and ordered this 31st day of July,        Executed on: July 31, 2020
 2020 and ordered filed and made a part of the
 records in the above case.




                                                      Diane Arima-Linscott
                                                      U.S. Pretrial Services Officer


                                                      Place: Honolulu, Hawaii
